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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

____________________________________
                                    )
JOHN DOE #1, et al.,                )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )      Civil Action No.
                                    )      5:18-CV-0496 (FJS/DEP)
SYRACUSE UNIVERSITY, et al.,        )
                                    )
            Defendants.             )
                                    )
____________________________________)


       NOTICE OF DEFENDANTS’ OBJECTIONS IN PART TO MAGISTRATE’S
          REPORT AND RECOMMENDATION, ECF NO. 74, REGARDING
           PLAINTIFFS’ ABILITY TO PROCEED USING PSEUDONYMS


OBJECTIONS FILED BY:                    Defendants Syracuse University, Kent Syverud,
                                        Pamela Peter, Robert Hradsky, and Teresa Abi-
                                        Nader Dahlberg

DATE, TIME AND PLACE OF HEARING:        November 9, 2018, at 10:00 AM, before the
                                        Honorable Frederick J. Scullin, Jr., at the
                                        United States District Courthouse in Syracuse,
                                        New York

RELIEF REQUESTED:                       Modification of Report and Recommendation
                                        of the Honorable David E. Peebles, ECF No. 74

GROUNDS FOR RELIEF:                     Fed. R. Civ. P. 10(a) and 17(a)

SUPPORTING PAPERS:                      Designation of the Contents of the Record on
                                        Appeal, dated September 24, 2018, and
                                        Memorandum of Law, dated September 24,
                                        2018

OPPOSITION PAPERS:                      To be served and filed according to Local Rule
                                        72.1.




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 Dated: September 24, 2018                   Respectfully submitted,

                                                  /s/ John G. Powers
                                             By ______________________

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                              Attorneys for Defendants




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                                CERTIFICATE OF SERVICE


        I hereby certify that on September 24, 2018, I caused the foregoing Notice of Objections
and all supporting documents to be filed electronically with the Clerk of the District Court,
Northern District of New York using the CM/ECF system, which sent contemporaneous
notification of such filing to all counsel who have made an appearance in this action.

Dated: September 24, 2018
                                                    s/ Paul J. Tuck, Esq.
                                                    (Bar Roll No. 520814)




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